 

Case 2:08-cv-02832-JTF-tmp Document 12-9 Filed 02/12/10 Pagelof5 PagelD 496

Exhibit 7
 

ee“ CASE 2°08°CV-02832-JTE-tip “Ddttiment 12-9 Filed 02/12/10 Page 2of5 PagelD 497

   

 

 

    

 

EES PRINTER-FRIENDLY

Contracts to Contractor(s) "Smith & Nephew"
(FY 2000-2009)

 

Summary

 

 

 

@: ow on ecovery Act contracts data

 

 

Total dollars: $2,114,029,040
Total number of contractors: 12

r Top 5 Products or Services Sold
Total number of transactions: 28,636

 

 

 

 

 

 

 

tet Miscellaneous Items $887,951 ,752
Extent of Competition i2: :
94.70% Office Supplies $432,449,079
: Maintenance, Repair and Rebuilding of Equipment --
BAO Medical, Dental, and Veterinary Equipment and $305,877 ,613
12% Supplies ‘
Lease or Rental of Equipment 7 Medical, Dental, and $134,090,236
Veterinary Equipment and Supplies
87.78% . °
Medical and Surgical Instruments, Equipment, and $125,483,627

 

 

 

 

Supplies

 

 

 

 

 

/
© available for everyone for competition $798,716,626
i

 

 

a Everyone could compete, but only one bid or $75,002,414, | top 5 Contracting Agencies Purchasing from
:

 

 

  
   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  
  

 

 

 

 

    

 

 

 

 

 

|
ph offer was received Contractor(s)
:
| Competition within a limited pool $300,187,584, i aiR FORCE, Department of the (Headquarters, USAF) /$591,084,451
: i Actions necessary to continue existing .
competitive contracts for continuity (until the $6,909, {VETERANS AFFAIRS, Department of $576,499,732
next one could be competed) ARMY, Department of the (except Corps of Engineers $553,730,244
=z Available only for groups such as disabled $733,594,869 Civil Program Financing) 193,/30,
# . = pepe 7 > » q
‘mag POTSONS, prisoners, and regulated utilities Offices, Boards and Divisions (includes Attorney §208,218,784
$177,617,791 General, etc.) ue
U.S. Marshals Service $63,682,082
$28,905,847
Top 10 Contractors
Small Business Consolidated Reporting $1,316,233,900
Gpc Consolidated Reporting $736,380,425
Smith & Nephew, Inc. $35,569,407
B4.B5%,
SMITH & NEPHEW PLC : $18,262,425
Grand Slam Holdings, LLC $3,353,434
Fixed Price 1 994,553,444
a 91,994,553, Patterson Medical Supply, Inc. : $2,154,951
Cost Tr 31,694
Hl cost Type . 31, BSN medical Mezzanine Holding GmbH $696,574
Time and Material $68,723,097 SMITH & NEPHEW GMBH (unknown parent company, $671,849
no D&B number) ,
Labor Hours $43,507,318
+ Smith & Nephew Richards : $379,187
yg Contracts that allow the orders to be priced $0 ,
: differently than the basic contract Smith Nephew Inc $204,069
Contracts that used a combination of the $1,551,816

 

 

 
 

oe on™ CASE 2°708-CV-02832-3TF-tmp Document 12-9 Filed 02/12/10 Page 3o0f5 PagelD 498

 

 

 

 

 

     

TALLY | FAQ [ _ .

 

: DOWNLOADS RELATED RESOURCES | DATA QU

        

 

= PRINTER-FRIENDLY

 
  
   
   
   

Contracts to SMITH & NEPHEW PLC
(FY 2000-2009)

 

 

 

Summary

 

 

 

 

EB show only Recovery Act contracts data

 

Total doltars: $18,262,425
Total number of contractors: 1
Totat number of transactions: 4,223

 

Top 5 Products or Services Sold

Medical and Surgical Instruments, Equipment, and

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

tee TS . $14,818,636
Extent of Competition 2 Supplies _
Df Hospital Furniture, Equipment, Utensils, and Supplies $1,605,181
Sy
Maintenance, Repair and Rebuilding of Equipment -- $1,074,666
Medical, Dental, and Veterinary Equipment and Supplies! ~ 7’
Surgical Dressing Materials $275,758
an Ophthalmic Instruments, Equipment, and Supplies $109,987
F By pro
[ comets nee = |B Avattable for everyone for competition #938414 Top 5 Contracting Agencies Purchasing from
‘eal Everyone could compete, but only one bid or offer Contractor(s)
: | was received : $1,710,000
|
c VETERANS AFFAIRS, Department of $9,504,252
Competition within a limited pool $1,436,865
ARMY, Department of the (except Corps of Engineers $4,500,106
: Actions necessary to continue existing competitive Civil Program Financing) ov
Ege contracts for continuity (until the next one could $6,909
ibe competed) NAVY, Department of the $3,571,807
: Available only for groups such as disabled persons,
B 212,279
of prisoners, and regulated utilities $5,212,279) | AIR FORCE, Department of the (Headquarters, USAF) $318,306
@ Not competed for an allowable reason $8,714,051 Defense Logistics Agency $178,789
| ae! "
Mi vot identified, soon to be addressed $643,909
Top 10 Contractors
SMITH & NEPHEW PLC $18,262,425

 

 

 

 

Top 5 Known Congressional Districts where Work is

 

 

 

 

 

 

 

 

 
  
 
  

 

 

 

 

 

 

 

 

 

Performed
ag.Be%, 4 iz
invalid district: TNO9 $2,338,142
“ Invalid district: TX09 $1,814,679
“IEE Fixed Price $18,046,353
District of Columbia nonvoting (Eleanor Holmes Norton) | $1,504,646
Blicost Type So
i Florida 01 (Jeff Miller) $887,165
Time and Material $3,243
: Arkansas 02 (Vic Snyder) . $782,402
Labor Hours : $0 — "
‘Contracts that allow the orders to be priced os Trend ‘ S a

$0

 

differently than the basic contract

 

 

 

 

(gg Contracts that used a combination of the above

$0
 

mone womens ™ CASE 2708-CV-02832-ITF-tmp Document 12-9 Filed 02/12/10 Page 4of5 PagelD 499

pricing arrangements

 

Awards only, where none of the above pricing

arrangements apply 92,956

 

HB unknown $209,873

 

 

 

 

 

 

4000 200t 2002 2003 2OOd 2s 2s ater ake aOR

 

 

 

 

 

 

 

 

 

 

 

 

2000 $102,681 |.
“12001 $35,400
2002 $219,379
2003 $733,112
“12004 $1,296,893:
12005 $1,330,735!"
2006 $2,703,246
2007 $3,826,733) ©
2008 $6,115,124,
20097! $1,899,122

 

 

 

*END OF REPORT*

 

 

 

This search was done on December 2, 2009.

 

 

 

 

 
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labove pricing arrangements

  

 

ea wards only, where none of the above $2,255,098 Top 5 Known Congressional Districts where Work is
ricing arrangements apply _— Performed :

$3,406,571 i

  

 

 

 

 

 

 

 

 

 

 

District of Columbia nonvoting (Eleanor Holmes $490,178,030
Norton)

Invalid district: TX21 $77,254,590
Invatid district: VAO8 $65,987,987
Invalid district: OHO7 $57,032,883
Invalid district: ZZ $51,069,500

 

 

 

 

 

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| +2000 $503,814.

toot $463,447 |
2002 $820,565

| 2 2003 $1,436,024) ©

: 2004 $3,146,597 a

| : 2005 $7,696,254 i :

| : 2006 $11,447,819)

| "42007 $1,140,791,302)

| © 12008 $94,982,046 . fo
| po09 $2,741,174 a

 

 

 

 

 

 

*END OF REPORT*

 

 

 

 

 

 

 

This search was done on December 2, 2009.

 

 

 

 
